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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         Case No. 20-CV-25118-DLG

  HARTFORD CASUALTY INSURANCE COMPANY,
  a foreign corporation,

  Plaintiff,

  v.

  SILTEK AFFORDABLE HOUSING, LLC, a
  dissolved Florida limited liability
  company, et al.,

  Defendants.

  ____________________________       _____/


                                      ORDER

        THIS CAUSE comes before the Court sua sponte.

        On November 5, 2021, the parties advised the Court that, “the

  underlying arbitration which gave rise to the instant action has

  settled,” and is “pending approval by the Miami-Dade County Board

  of County Commissioners within the next 60 to 90 days” (ECF No.

  76). Thereafter, the parties filed a motion to stay, which the

  Court granted for a period of 60 days (ECF No. 77, 78). On January

  7, 2022, the parties filed a motion to extend the stay for an

  additional 60 days. The Court extended the stay for thirty days

  and directed the parties to file status reports every fifteen days

  thereafter advising of the status of the settlement and detailing

  the cause for the delay (ECF No. 85). On April 20, 2022, the

  parties filed a status report stating, “[t]he settlement agreement

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  is not yet before the Miami-Dade Board of County Commissioners

  because the County is currently undertaking efforts with local

  officials to place the agreement’s approval on the agenda for a

  meeting of the Board of County Commissioners.” On April 27, 2022,

  the Court held a telephonic status conference on the matter.

        The Court is concerned that this matter has been pending for

  nearly six months with no resolution. Accordingly, it is hereby

        ORDERED   AND   ADJUDGED   that    the   parties   are   directed,   as

  pronounced by the Court at the telephonic status conference, to

  obtain a transcript of the April 27, 2022 status conference, file

  a copy on the docket, and provide copies to Assistant County

  Attorneys Eduardo Gonzalez and Angela Benjamin. It is further

        ORDERED AND ADJUDGED that Assistant County Attorneys Eduardo

  Gonzalez and Angela Benjamin are directed to submit a filing within

  15 days of the date of this Order explaining what occasions the

  delay in the resolution of the underlying case and when it is

  expected to be resolved.

        DONE AND ORDERED in Chambers at Miami, Florida, this 27th day

  of April, 2022.

                                            s/Donald L. Graham_
                                            DONALD L. GRAHAM
                                            UNITED STATES DISTRICT JUDGE


  cc:   All Counsel of Record




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